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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 21-60278-CV-SMITH
                                  MAGISTRATE JUDGE REID


 YAMEL GONZALEZ,
        Plaintiff,
 v.
 CHRISTAL TRANSPORT, LLC, et al.,
        Defendants.
 ____________________________________/


                 ORDER APPROVING SETTLEMENT AGREEMENT AND
                       DISMISSING CASE WITH PREJUDICE

        This matter is before the Court pursuant to the Parties’ Joint Motion for Settlement (the

 “Motion”). [ECF No. 48]. The matter and all related motions have been referred to the undersigned

 for appropriate rulings. [ECF No. 49]. The parties submitted copies of their Settlement Agreements

 to the court via electronic mail. The Court has conducted a fairness hearing, considered the terms

 of the Settlement Agreements and the pertinent portions of the record, and is otherwise fully

 involved in the premises.

        This case involves claims for unpaid overtime compensation under the Fair Labor

 Standards Act, 29 U.S.C. §201, et seq. (“FLSA”). In reviewing a settlement of an FLSA private

 claim, a court must “scrutiniz[e] the settlement for fairness,” and determine that the settlement is

 a “fair and reasonable resolution of a bona fide dispute over FLSA provisions.” Lynn Food Stores

 v. United States, 679 F.2d 1350, 1352-53 (11th Cir. 1982). A settlement entered into in an

 adversarial context where both sides are represented by counsel throughout litigation “is more

 likely to reflect a reasonable compromise of disputed issues.” Id. The district court may approve


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 the settlement in order to promote the policy of encouraging settlement of litigation. Id. at 1354.

          In this case, all parties were represented by counsel. Further, the terms of the three

  Settlement Agreements, including the amount to be received by Plaintiff and opt-in Plaintiffs

  and the attorneys’ fees and costs, appear to be reasonable. Thus, this Court finds that the

  compromise reached by the parties is a fair and reasonable resolution of the parties’ bona fide

  disputes.

        Accordingly, the Parties’ Motion, [ECF No. 48], is hereby GRANTED, the Settlement

  Agreements are APPROVED, and this action, in its entirety, is DISMISSED with prejudice. The

  Court shall retain jurisdiction over this case to enforce the terms of the Settlement Agreements

  for a period of thirty days.

        DONE AND ORDERED in chambers, at Miami, Florida on this 27th day of August, 2021.


                                                                         _____
                                               LISETTE M. REID
                                               UNITED STATES MAGISTRATE JUDGE

 cc:    All Counsel of Record




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